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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 FINANCIAL INFORMATION
 TECHNOLOGIES, INC.,

        Plaintiff,                                     Case No.: 8:17-cv-00190-T-23MAP

 vs.

 ICONTROL SYSTEMS, USA, LLC,

       Defendant.
 ___________________________________/

   DEFENDANT’S UNOPPOSED MOTION TO SEAL PURSUANT TO COURT ORDER

        Defendant, iControl Systems, USA, LLC (“iControl” or “Defendant”), pursuant to (1)

 this Court’s Order on the parties’ Joint Motion for Entry of a Confidentiality Order [Doc. #29],

 (2) Fed. R. Civ. P. 5.2(d) and (3) Local Rule 1.09(b), hereby files this unopposed motion to seal

 documents in support of Defendant’s Motion for Stay of Execution Pending Disposition of Post-

 Trial Motions. In support of this request, Defendant states:

        1.      On October 19, 2017, the parties to this action entered into, and filed with the

 Court, a Stipulated Confidentiality Agreement and Protective Order (“Agreement”). [Doc. #27].

        2.      The Agreement requires materials designated by a party as “Confidential” or

 “Confidential – Attorneys’ Eyes Only” to be filed under seal unless otherwise directed by the

 Court or the parties agree otherwise in writing. [Doc. #27-1, ¶7].

        3.      Any seal imposed pursuant to the Agreement will last throughout the instant

 litigation and survive the final termination of this action. [Doc. #27-1, ¶¶11,12].

        4.      On October 23, 2017, the Court granted in pertinent part the parties’ Joint Motion

 for Entry of Confidentiality Order. [Doc. # 29].
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        5.     Defendant seeks to file the following items under seal in support of its Motion to

 for Stay of Execution Pending Disposition of Post-Trial Motions:

                  i.    Affidavit of TJ Zlotnitsky (Exhibit A);

        6.     Pursuant to Local Rule 1.09(b) and paragraph 7 of the Agreement, the above

 named affidavit will be filed with the Clerk of Court contemporaneously with this Motion, in a

 sealed envelope marked with the case caption, a schedule of the envelope’s contents, and the

 following notation: “Contains Confidential Information; To Be Opened Only By or As Directed

 By The Court.”

        7.     The undersigned conferred with Plaintiff’s counsel pursuant to Local Rule 3.01(g)

 and Plaintiff’s counsel does not oppose Defendant’s request.

        8.     According, Defendant respectfully requests that the Court permit the filing of this

 document under seal.




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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

        The undersigned certified that counsel for the parties engaged in good faith

 communications and does not oppose this Motion.



                                              /s/ Jonathan B. Sbar
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                                              Attorneys for Defendant


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been furnished via electronic

 mail, on the 30th day of March, 2020, to the following:

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                                              /s/ Jonathan B. Sbar
                                              Attorney




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